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Exhibit A
   December 5, 2020


   gtlatthew Rankin
                Drive
   Peebles, 03-1. 45660

   Resurgent/f VI'fV Funding
   PO BOX 1269
   Greenville, SC 29602

   Re: P a r t i a l Account #           39247

   .?vly name is _Matthew Rankin. LMy mailing address is                            l
   Drive Peebles, OJT 4566o. lvly date of birth is            .7vly Social
                                                                      .
   Security Number is               . On December 5, 2020 I received a
   copy of my Experian consumer report. A f t e r examining this copy
   of my Experian consumer report, I discovered that Resurgent
   f-17.7VT/Funding (RU) is reporting that I allegedly owe a collection
   account to Credit One Bank. The partial account number for this
   account is 444769239247. I am writing this letter to inform RIF that
   I am disputing the validity of this debt and that I am requesting that
   RIF immediately provide me with proper debt validation according
   to the guidelines established by the Fair Debt Collections Practices
   Act (TDCTA) .

   According to provisions contained in the FDCPA, I am further
   notifying R I F that I am disputing the legitimacy of this debt, and
   that I a m demanding 'proper debt validation" a n d ' f u l l -file
   disclosure" regarding all-matters concerning this "alleged debt." RIF
   needs t o understand that federal- law considers "proper debt
   validation" to consist of the following items. First, R I F needs to
   prove it is licensed to collect this debt in the state of Ohio. RIF needs
   to provide me with an original contract that I signed to prove this
   debt is mine. RIF needs to provide the name of the original creditor,
   the date the account was opened, the first date this account went
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delinquent, and when R.Ly became licensed to collect this debt. R.Ly
is also obligated to provide me with the following items... the dates
of everything I allegedly purchased with this debt, what I allegedly
purchasedresuCting in this debt, where I allegedly made this debt at,
when I allegedly made this debt, and how much I allegedly made this
debt for? Any attempts made by RLF to provide me proper debt
validation should include all the items I listed above.

In terms of yulrfile disclosure," I am demanding that R.L. r provide
me with a copy of everything that ,it has in its fifes regarding this
"alleged debt." Please understand that anything less than what I
have demanded from R Ly is unacceptable a n d could result i n
violation of the FDCP.A.

After RCI has provided me with the "proper debt validation" and
 `full-file disclosure" that I have demanded, I am further demanding
that ICS immediately cease and desist all efforts to collect this debt.
As part of this cease-and-desist order, I am prohibiting REF from
contacting me by telephone number                            from my
person e m a i l                                   . A n y further
attempts made to contact me by use of these two venues may be a
violation o f the FDCP.A. R L F i s f u r t h e r prohibited from
communicating w i t h anyone affiliated with me regarding this
matter by telephone, text, email, fax, or social media. R.Ly should
also be made aware that any attempts to contact friends or family
regarding this matter is strictly prohibited.

going forward; a l l correspondence from REF to me regarding this
matter can be sent by 'LISPS mail and addressed to NIR. Nlatthew
Rankin                      Peebles, 03-1 45660. R E F may also send me
just one more letter by 'LISPS mail stating they have received this
 letter and that any further debt collection regarding this matter is
 being terminated; they are invoking special remedies that are
 ordinarily involved by a debt collector, and that special remedies
 have been invoked by REF Please be advised I want to be notified
 immediately should R i f decide t o invoke any o f these "special
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remedies." I am immediately demanding that any other means
taken by RIF to collect this debt be ceased immediately.

In accordance with the provisions contained in the Fair Credit
Reporting ACI- (KRA), I am asking that RIF immediately cease its
reporting of this account to all the credit reporting bureaus that it
has reported this account to. I would specifically ack that R I F
immediately delete this entry on my Experian consumer report.
Also, i f R I F has reported this information t o Equifax a n d
'raps Union, t h a t i t immediately deletes the reporting o f this
account on my Equifax and `FransUnion consumer reports. Please
understand that according to provisions contained in the FCR.A,
RIF has the l e g a l obligation t o 'properly report" consumer
information to all credit reporting bureaus that it transacts business
with.

Finally, RIF needs to understand that I take all matters concerning
my consumer information seriously. .As a resident o f Ohio, I
understand my rights as a consumer, and I expect ICS to abide by
all state andfederal consumer laws. R I F needs to understand that
I will take whatever legal action is necessary to protect my rights as
consumer. I t is my intention to hold R I F accountable to all state
andfederal consumer laws.

Sincerely,




Jvlatthew Rankin
             Drive
Peebles, 03-145660
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